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                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI


ANDREW JOHNSON                                           Case No.: 1:16-cv-00224-SNL

              Plaintiff
v.                                                       PLAINTIFF’S MOTION
JOHNSON & JOHNSON, et. al.

                       Defendant(s)



       PLAINTIFF’S MOTION FOR AN EXTENSION OF TIME TO FILE AN AMENDED
              COMPLAINT OR IN THE ALTERNATIVE A STAY ON THE ACTION

        Counsel for Plaintiff, Andrew Johnson make this motion for extension of time to file an amended

complaint or in the alternative requests a stay on the entire action in response to the Memorandum and

Order entered on August 30, 2016. On August 17, 2015 the United States Judicial Panel granted the

application for a Multi-District Litigation for the class of drugs called Fluoroquinolone Products, MDL

No. 2642. Plaintiff, Andrew Johnson’s claim involves a Fluoroquinolone designated for inclusion into the

Multi-District Litigation in the United States District Court, District of Minnesota, MDL No. 2642.

        Plaintiff’s complaint was initially filed in this Court on August 29, 2016. Plaintiff filed a Notice

of Tag Along action in the Judicial Panel of Multi-District Litigation on September 6, 2016. Andrew

Johnson’s complaint will be transferred to the Multi-District Litigation in the District of Minnesota. (IN

RE: FLUOROQUINOLONE PRODUCTS LIABILITY LITIGATION, 15-MD-2642).

        Plaintiff’s counsel received the conditional transfer order on September 12, 2016 from the United

States Judicial Panel for Multi-District Litigation. (See Exhibit A).

        WHEREFORE, Plaintiff hereby respectfully requests the Court enter an order extending the time

to file an amended complaint by thirty (30) days in response to the Memorandum and Order entered on

August 30, 2016 or in the alternative grant a stay on the entire action until this action is transferred.



Respectfully submitted this 12th day of September, 2016.
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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI




ANDREW JOHNSON                                         Case No.: 1:16-cv-00224-SNL

              Plaintiff
v.                                                     CERTIFICATE OF SERVICE
JOHNSON & JOHNSON, et. al.

                       Defendant(s)



                                      CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing Motion was served upon all parties of record

electronically by CM/ECF, on September 12, 2016.


Respectfully submitted this 12th day of September, 2016.

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